     Case
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1                            UNITED STATES DISTRICT COURT

2                      FOR THE NORTHERN DISTRICT OF GEORGIA

3                                    ATLANTA DIVISION

4

5                         Civil Action No. 1:17-cv-02989-AT

6          ____________________________________________________

7          DONNA CURLING, et al.,

8                  Plaintiffs,

9          vs.

10         BRAD RAFFENSPERGER, et al.,

11                 Defendants.

12         ____________________________________________________

13                  VIDEOTAPED VIDEOCONFERENCE DEPOSITION OF

14                                 JEFFREY E. LENBERG

15         DATE:                 November 21, 2022

16         TIME:                 10:05 a.m. to 6:21 p.m. Eastern

17         LOCATION:             Witness location

18

           REPORTED BY:        Felicia A. Newland, CSR

19

20                             Veritext Legal Solutions

                          1250 Eye Street, N.W., Suite 350

21                               Washington, D.C. 20005

22


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     Case
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1           notebook here, but you identified two anomalies.

2           One was the remote with Dominion, the other was

3           the, what you called, reversals, or rejection, rate

4           relating to the ICPs.          Were there any other

5           anomalies with respect to the machines that you

6           investigated in Coffee County?

7                      A       Not that I recollect.

8                      Q       Did you investigate anything relating

9           to the poll pads?

10                     A       Ms. Hampton -- while I was there,

11          keep in mind, this was the first time I had seen

12          this, you know, current generation of voting

13          machines, other than me voting at my voting

14          location in New Mexico, so I was learning as much

15          as I could.      And she was very helpful in

16          explaining, you know, basic voting systems, Georgia

17          election law.       She was quite knowledgeable about

18          Georgia election law.          And also about her voting

19          machines.      She -- she runs herself.           She knows the

20          whole thing.

21                             And so the pollbooks, they actually

22          showed me the pollbooks.           I believe they actually




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1           demonstrated to me the pollbook.              But other than

2           telling me how it worked, demonstrating it, they

3           showed me that -- or she showed me that it was

4           connected to the internet during its operation and

5           that they literally could go order Domino's Pizza

6           and have it delivered while it was connected to the

7           internet.

8                      Q       Okay.    Let me shift gears a little

9           bit.

10                             Did you know --

11                             MR. CLEMENTS:       How much --

12          BY MR. BROWN:

13                     Q       Do you know --

14                             MR. CLEMENTS:       Bruce, if you're about

15          to shift gears, is there a way that we could maybe

16          take a quick restroom break?

17                             MR. BROWN:      Absolutely.       Let's break

18          for ten minutes.        Thank you.       Thank you.

19                             VIDEOGRAPHER:       Going off the record.

20          The time is 11:28 a.m.

21                         (Recess from 11:28 a.m. to 11:42 a.m.)

22                             VIDEOGRAPHER:       Going on the record.




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